     Case 4:20-cv-00092-DPM-PSH Document 20 Filed 11/09/20 Page 1 of 1



            IN THE UNITED ST ATES DISTRICT COURT
               EASTERN DISTRICT OF ARKANSAS
                      CENTRAL DIVISION

DEVERICK SCOTT
ADC #131042                                                   PLAINTIFF

v.                     No. 4:20-cv-92-DPM-PSH

JONATHAN VINEYARD,
Corporal, VSM Unit, ADC                                    DEFENDANT

                                 ORDER
     The Court adopts Magistrate Judge Harris's unopposed
recommendation, Doc. 19.       FED. R.   CIV. P. 72(b) (1983 addition to
advisory committee notes). Motion to dismiss, Doc. 14, denied.
     So Ordered.


                                  D .P. Marshall Jr.
                                  United States District Judge
